08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                   Pg 1 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                   Pg 2 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                   Pg 3 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                   Pg 4 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                   Pg 5 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                   Pg 6 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                   Pg 7 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                   Pg 8 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                   Pg 9 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 10 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 11 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 12 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 13 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 14 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 15 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 16 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 17 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 18 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 19 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 20 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 21 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 22 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 23 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 24 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 25 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 26 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 27 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 28 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 29 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 30 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 31 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 32 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 33 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 34 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 35 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 36 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 37 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 38 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 39 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 40 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 41 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 42 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 43 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 44 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 45 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 46 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 47 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 48 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 49 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 50 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 51 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 52 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 53 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 54 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 55 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 56 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 57 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 58 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 59 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 60 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 61 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 62 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 63 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 64 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 65 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 66 of 67
08-13555-mg   Doc 21190-2   Filed 10/24/11 Entered 10/24/11 17:47:45   Exhibit 3
                                  Pg 67 of 67
